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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-Vv.- OF FORFEITURE AS TO SPECIFIC
: PROPERTIES/MONEY JUDGMENT

ALEXANDER MASHINSKY,

23 Cr. 347 (JGK)
Defendant.

WHEREAS, on or about July 11, 2023, ALEXANDER MASHINSKY (the
Defendant”), among others, was charged in a seven-count Indictment, 23 Cr. 347 (JGK) (the
“Indictment”), with, inter alia, securities fraud, in violation of Title 15, United States Code,
Sections 78j(b) and 78ff; Title 17, Code of Federal Regulations, Section 240.10b-5; and Title 18,
United States Code, Section 2 (Count Five);

WHEREAS, the Indictment included a forfeiture allegation as to Count Five of the
Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(C) and Title 28 United States Code, Section 246I(c), of any and all property,
real and personal, that constitutes or is derived from proceeds traceable to the commission the
offense charged in Count Five of the Indictment, including but not limited to a sum of money in
United States currency, representing the proceeds traceable to the commission of the offense
charged in Count Five of the Indictment;

WHEREAS, on or about /2/ 5 | 14he Defendant pled guilty to Counts Two and
Five of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count Five of the Indictment and agreed to forfeit
to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

United States Code, Section 2461(c), (i) a sum of money equal to $48,393,446 in United States
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currency, representing proceeds traceable to the commission of Count Five (the “Money Judgment’),
and (ii) all right, title and interest of the Defendant in the following specific properties, each of which
is subject to the Post-Indictment Restraining Order dated August 16, 2023:

(a) Any and all funds in account number 055-72620-2 held at Goldman Sachs in the name of
Koalal LLC, and any and all moneys, assets, and funds traceable thereto;

(b) Any and all funds in account number 056-30961-0 held at Goldman Sachs in the name of
Koalal LLC, and any and all moneys, assets, and funds traceable thereto;

(c) Any and all funds in account number 055-72608-7 held at Goldman Sachs in the name of
Koala2 LLC, and any and all moneys, assets, and funds traceable thereto;

(d) Any and all funds in account number 055-72619-4 held at Goldman Sachs in the name of
Koala3 LLC, and any and all moneys, assets, and funds traceable thereto;

(e) Any and all funds in account number 857-07039 held at Merrill Lynch in the name of AM
Ventures Holdings Inc., and any and all moneys, assets, and funds traceable thereto;

(f) Any and all funds in account number A9G-296437 held at First Republic Securities in the
names of Alexander Mashinsky and Kristine Meehan, and any and all moneys, assets, and
funds traceable thereto;

(g) Any and all funds in an account number 410005144897 held at SoFi Bank in the name of
Alex Mashinsky, and any and all funds traceable thereto;

(h) Any and all funds in an account number 4XU-08120-13 held at SoFi Securities in the name
of Alex Mashinsky, and any and all moneys, assets, and funds traceable thereto; and

(i) The real property located at 2004 East 8th Street, Austin, Texas, which is a residential
home purchased by the defendant and Kristine Mashinsky on or about June 10, 2021, and
more fully described as Lot Number 14, Block 21 of Grandview Place, a subdivision of
Outlot No. 10 and parts of Outlots No. 8, 9, 11, and 62 in Division B, in Travis County,
Texas, according to the plat recorded as Volume 3, Page 17, of the Plat Records of Travis
County, Texas.

(a. through i., collectively, the “Specific Properties”);
WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $48,393,446 in United States currency, representing the amount of proceeds traceable

to the offense charged in Count Five of the Indictment that the Defendant personally obtained;

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WHEREAS, the Defendant further consents to the forfeiture of all of his right, title
and interest in the Specific Properties, which constitutes property traceable to the offense charged
in Count Five of the Indictment;

WHEREAS, the Defendant agrees to make a payment to the Government in the
amount of $10,000,000 (the “Payment”) towards the satisfaction of his forfeiture money judgment
obligation no later than December 31, 2025 (the “Payment Deadline”);

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count Five of the Indictment that the
Defendant personally obtained, with the exception of the Specific Properties, cannot be located
upon the exercise of due diligence; and

WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules
32.2(b)(3), and 32.2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now
entitled, pending any assertion of third-party claims, to reduce the Specific Properties to its
possession and to notify any and all persons who reasonably appear to be a potential claimant of
their interest herein.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Damian Williams, United States Attorney, Assistant United States
Attorneys Peter J. Davis, Adam S. Hobson, and Allison Nichols, of counsel, and the Defendant
and his counsel, Marc Mukasey, Esq., Torrey Young, Esq., and Michael Westfal, Esq., that:

I. As aresult of the offense charged in Count Five of the Indictment, to which
the Defendant pled guilty, a money judgment in the amount of $48,393,446 in United States

currency (the “Money Judgment”), representing the amount of proceeds traceable to the offense

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charged in Count Five of the Indictment that the Defendant personally obtained, shall be entered
against the Defendant.

2. As aresult of the offense charged in Count Five of the Indictment, to which
the Defendant pled guilty, all of the Defendant’s right, title and interest in the Specific Properties
are hereby forfeited to the United States for disposition in accordance with the law, subject to the
provisions of Title 21, United States Code, Section 853.

3. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture as to Specific Properties/Money Judgment is final as to
the Defendant ALEXANDER MASHINSKY, and shall be deemed part of the sentence of the
Defendant, and shall be included in the judgment of conviction therewith.

4. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals
Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Illicit Finance and Money Laundering Unit, 26 Federal Plaza, New York, New York
10278 and shall indicate the Defendant’s name and case number.

5. The United States Marshals Service is authorized to deposit the payments
on the Money Judgment into the Assets Forfeiture Fund, and the United States shall have clear
title to such forfeited property.

6. Upon entry of this Consent Preliminary Order of Forfeiture as to Specific
Property/Money Judgment, the United States (or its designee) is hereby authorized to take
possession of the Specific Properties and to hold such property in its secure custody and control.

7. Pursuant to Title 21, United States Code, Section 853(n)(1), Rule 32.2(b)(6)

of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv(C) and G(5)(a)(ii) of the
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Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the
United States is permitted to publish forfeiture notices on the government internet site,
www. forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally
published in newspapers. The United States forthwith shall publish the internet ad for at least thirty
(30) consecutive days. Any person, other than the Defendant, claiming interest in the Specific
Properties must file a Petition within sixty (60) days from the first day of publication of the Notice
on this official government internet web site, or no later than thirty-five (35) days from the mailing
of actual notice, whichever is earlier.

8. The published notice of forfeiture shall state that the petition (i) shall be for
a hearing to adjudicate the validity of the petitioner’s alleged interest in the Specific Properties,
(ii) shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and
extent of the petitioner’s right, title or interest in the Specific Properties, the time and
circumstances of the petitioner’s acquisition of the right, title and interest in the Specific
Properties, any additional facts supporting the petitioner’s claim, and the relief sought, pursuant to
Title 21, United States Code, Section 853(n).

9. Pursuant to 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure, the
Government shall send notice to any person who reasonably appears to be a potential claimant
with standing to contest the forfeiture in the ancillary proceeding.

10. Upon adjudication of all third-party interests, this Court will enter a Final
Order of Forfeiture with respect to the Specific Properties pursuant to Title 21, United States Code,
Section 853(n), in which all interests will be addressed. All Specific Properties forfeited to the
United States under a Final Order of Forfeiture shall be applied towards the satisfaction of the

Money Judgment.
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11. The Defendant shall make a payment to the Government in the amount of
$10,000,000 (the “‘Payment’’) towards the satisfaction of his forfeiture money judgment obligation
by no later than December 31, 2025 (the “Payment Deadline”).

12. Upon receipt of the Payment by the Payment Deadline and the entry of a
Final Order of Forfeiture as to the Specific Properties, the Government shall accept the Payment
in full satisfaction of the Money Judgment.

13. In the event that the Defendant is unable to make the Payment by the
Payment Deadline, the Defendant may submit a request to the Government for a reasonable
extension of the Payment Deadline. The Government may in its discretion approve a request to
extend the Payment Deadline upon a showing of good cause by the Defendant, which approval
shall not be unreasonably denied.

14. The Government agrees not to take any action, pursuant to Title 18, United
States Code, Section 853(p), seeking the forfeiture of substitute assets of the Defendant before the
Payment Deadline. If the Defendant fails to make the Payment in full, the Government may take
action pursuant to Title 18, United States Code, Section 853(p).

15. Subject to the terms set forth above, pursuant to Title 21, United States
Code, Section 853(p), the United States is authorized to seek forfeiture of substitute assets of the
Defendant up to the uncollected amount of the Money Judgment.

16. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.
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17. | The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture as to Specific Properties/Money Judgment, and to amend it as necessary, pursuant to

Rule 32.2 of the Federal! Rules of Criminal Procedure.

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18. The signature page of this Consent Preliminary Order of Forfeiture as to

Specific Properties/Money Judgment may be executed in one or more counterparts, each of which

will be deemed an original but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York

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By: bom g Mebran 12/2/2024
PETER J. DAVIS DATE
ADAM S. HOBSON
ALLISON NICHOLS

Assistant United States Attorneys
26 Federal Plaza

New York, NY 10278

(212) 637-2468 / 2484 / 2366

By: INL \ ie ae & o24-

ae MASHINSKY DATE

By: Jong aunty \a{alaH
MARC MUKAS Esq DATE
TORREY YOUNG, Esq.

MICHAEL WESTFAL, Esq.
Mukasey Young LLP

570 Lexington Avenue, Suite 3500
New York, NY 10022

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SO ORDERED:
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a D STATES DISTRICT JUDGE

